504 F.2d 585
    UNITED STATES of America, Plaintiff-Appellee,v.Frederick Isiah GRANGER, Defendant-Appellant.
    No. 73-2864.
    United States Court of Appeals, Ninth Circuit.
    Sept. 24, 1974.
    
      John S. Lane, Long Beach, Cal., for defendant-appellant.
      Steven Rathfon, Asst. U.S. Atty., Los Angeles, Cal., for plaintiff-appellee.
      Before TRASK and GOODWIN, Circuit Judges, and ENRIGHT, District judge.1
      OPINION
      PER CURIAM:
    
    
      1
      Appellant Granger challenges the District Court's denial of a motion for a new trial after a conviction for violations of 18 U.S.C. 472, 473, transfer and possession of counterfeit money.  We affirm.
    
    
      2
      The conviction of appellant was affirmed by this court.  475 F.2d 1022 (9th Cir.), cert. denied, 412 U.S. 929, 93 S. Ct. 2757, 37 L. Ed. 2d 157 (1973).  A new trial is sought because of the presence of 'newly discovered' evidence.  A full hearing was held by the trial court on appellant's motion.
    
    
      3
      It is well settled that the scope of review of a denial of a motion for a new trial is narrow and reversal will be ordered only when it is clear that the District Court abused its discretion.  United States v. Craft, 421 F.2d 693, 695 (9th Cir. 1970); Pitts v. United States, 263 F.2d 808, 810-811 (9th Cir.), cert. denied, 360 U.S. 919, 79 S. Ct. 1438, 3 L. Ed. 2d 1535 (1959).
    
    
      4
      A review of the record clearly discloses that the evidence relied upon by the appellant was not newly discovered and unknown to the defendant at the time of trial.  Nor would the evidence probably have produced an acquittal.  United States v. Cativiela, 460 F.2d 192 (9th Cir. 1972) (per curiam).
    
    
      5
      Judgment affirmed.
    
    
      
        1
         Honorable William B. Enright, United States District Judge for the Southern District of California, sitting by designation
      
    
    